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IN THE UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF VIRGINIA
(Alexandria Division)
JOHN DOE,
Plaintiff,
v. Civil Action No. 1:22-cv-00133-LMB-IDD

HAMPTON UNIVERSITY, et al.

Defendants.

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ORDER OF DISMISSAL WITH PREJUDICE

Plaintiff John Doe, by and through his undersigned counsel, and Defendants, Hampton
University, Barbara L. Inman, and Aleczander M. Whitfield, have announced to the Court that all
matters in controversy against Defendants been resolved. A Joint Stipulation of Dismissal with
Prejudice has been signed and filed with the Court. Having considered the Stipulation of Dismissal
with Prejudice, the Court makes and delivers the following ruling:

IT IS HEREBY ORDERED, ADJUDGED, and DECREED that the claims and causes of
action that were, or could have been, asserted herein by Plaintiff John Doe against Defendants,
Hampton University, Barbara L. Inman, and Aleczander M. Whitfield are in all respects

DISMISSED WITH PREJUDICE to the refiling of the same, with each party to bear their own

costs, expenses and fees. oo , Yue,
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ENTERED this_24~“ day of Sys , 2022.
/
/s/
Leonie M. Brinkenta “

United States District Judge
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